Case 1:21-md-02989-CMA Document 20 Entered on FLSD Docket 04/02/2021 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-2989-MDL-ALTONAGA/Torres

  In re:

  JANUARY 2021 SHORT SQUEEZE
  TRADING LITIGATION
  _________________________________/

  This Document Relates to All Actions

                                                 ORDER

           THIS CAUSE came before the Court sua sponte.                An initial status conference is

  scheduled for April 19, 2021 at 10:00 a.m. One hour has been reserved for the conference; if

  any party anticipates requiring additional time, it shall advise the Courtroom Deputy in advance.

  The parties shall submit a joint proposed agenda listing items for discussion on or before April

  15, 2021. Counsel are expected to familiarize themselves with the procedures applicable to

  multi-district litigation and be prepared at the initial conference to suggest measures that will

  facilitate the expeditious, economical, and just resolution of this litigation.

           Each party represented by counsel shall appear at the initial scheduling conference

  through the attorney who will have primary responsibility for the party’s interest in this

  litigation. To minimize costs and facilitate a manageable initial status conference, parties with

  similar interests may agree, to the extent practicable, to have an appearing attorney represent

  their interests at the conference. A party, by designating an attorney to represent the party’s

  interest at the initial status conference, will not be precluded from personally participating or

  selecting other representation during the course of this litigation, nor will appearance at the

  conference waive objections to jurisdiction, venue, or service.
Case 1:21-md-02989-CMA Document 20 Entered on FLSD Docket 04/02/2021 Page 2 of 2

                                                  CASE NO. 21-2989-MDL-ALTONAGA/Torres


         The hearing will be held via video conference, with instructions to follow. Persons

  granted remote access to proceedings are reminded of the general prohibition against

  photographing, recording, and rebroadcasting court proceedings. Violation of these prohibitions

  may result in sanctions, including removal of court-issued media credentials, restricted entry to

  future hearings, denial of entry to future hearings, or any other sanctions deemed necessary by

  the Court.

         DONE AND ORDERED in Miami, Florida, this 2nd day of April, 2021.



                                                         _________________________________
                                                         CECILIA M. ALTONAGA
                                                         UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




                                                 2
